Case 2:12-md-02323-AB Document 6257-2 Filed 10/24/14 Page 1 of 3

EXHIBIT A

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gister.

Whois Server Version 2.0
Domain names in the .com and .net domains can now be registered with many different competing registrars.

Go to http://www. internic.net for detailed information.

Domain Name: NFLCONCUSSIONSETTLEMENTFACTS.COM
Registry Domain ID: 1878760459_ DOMAIN_COM-VRSN
Registrar WHOIS Server: whois.godaddy.com
Registrar URL: http://www.godaddy.com
Update Date: 2014-10-03 11:40:30
Creation Date: 2014-10-03 11:40:30
Registrar Registration Expiration Date: 2016-10-03 11:40:30
Registrar: GoDaddy.com, LLC
Registrar IANA ID: 146
Registrar Abuse Contact Email: abuse@godaddy.com
Registrar Abuse Contact Phone: +1.480-624-2505
Domain Status: clientTransferProhibited
Domain Status: clientUpdateProhibited
Domain Status: clientRenewProhibited
Domain Status: clientDeleteProhibited
Registry Registrant ID:
Registrant Name: Registration Private
Registrant Organization: Domains By Proxy, LLC
Registrant Street: DomainsByProxy.com
Registrant Street: 14747 N Northsight Blvd Suite 111, PMB 309
Registrant City: Scottsdale
Registrant State/Province: Arizona
_ Registrant Postal Code: 85260
Registrant Country: United States
Registrant Phone: +1.4806242599
Registrant Phone Ext:
Registrant Fax: +1.4806242598
Registrant Fax Ext:
Registrant Email: NFLCONCUSSIONSETTLEMENTFACTS. COM@domainsbyproxy.com
Registry Admin ID:
Admin Name: Registration Private
Admin Organization: Domains By Proxy, LLC
Admin Street: DomainsByProxy.com
Admin Street: 14747 N Northsight Blvd Suite 111, PMB 309
Admin City: Scottsdale
Admin State/Province: Arizona
Admin Postal Code: 85260
Admin Country: United States
Admin Phone: +1.4806242599
Admin Phone Ext:
Admin Fax: +1.4806242598
Admin Fax Ext:
Admin Email: NFLCONCUSSIONSETTLEMENTFACTS.COM@domainsbyproxy.com
Registry Tech ID:
Tech Name: Registration Private
Tech Organization: Domains By Proxy, LLC
Tech Street: DomainsByProxy.com
Tech Street: 14747 N Northsight Blvd Suite 111, PMB 309
Tech City: Scottsdale
Tech State/Province: Arizona
Tech Postal Code: 85260

http://www.tegister.com/whois.remx 10/23/2014

Domain Regisfrarth2Websie Design ache BRON WUbOesting dtikeebibeedddt Page 3 phse 2 of 2

Tech Country: United States

Tech Phone: +1.4806242599

Tech Phone Ext:

Tech Fax: +1.4806242598

Tech Fax Ext:

Tech Email: NFLCONCUSSIONSETTLEMENTFACTS. COM@domainsbyproxy.com
Name Server: NS65.DOMAINCONTROL.COM

Name Server: NS66.DOMAINCONTROL.COM

DNSSEC: unsigned

URL of the ICANN WHOIS Data Problem Reporting System: http://wdprs.internic.net/
Last update of WHOIS database: 2014-10-23T13:00:00Z

The data contained in GoDaddy.com, LLC’s Whols database,

while believed by the company to be reliable, is provided “as is"

with no guarantee or warranties regarding its accuracy. This

information is provided for the sole purpose of assisting you

in obtaining information about domain name registration records.

Any use of this data for any other purpose is expressly forbidden without the prior written
permission of GoDaddy.com, LLC. By submitting an inquiry,

you agree to these terms of usage and limitations of warranty. In particular,
you agree not to use this data to allow, enable, or otherwise make possible,
dissemination or collection of this data, in part or in its entirety, for any
purpose, such as the transmission of unsolicited advertising and

and solicitations of any kind, including spam. You further agree

not to use this data to enable high volume, automated or robotic electronic
processes designed to collect or compile this data for any purpose,
including mining this data for your own personal or commercial purposes.

Please note: the registrant of the domain name is specified

in the “registrant” section. In most cases, GoDaddy.com, LLC

is not the registrant of domain names listed in this database.

The Registry database contains ONLY .COM, .NET, .EDU domains and Registrars.

http://www.register.com/whois.rcmx 10/23/2014

